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 United States District Court                                                riLED
 for the District of Vermont
                                                                     2f:fl Sfp -9 PH 1:03
 Civil Action No. 5:09-CV-00230-cr
 Appellate Docket No.16-1944                                                  ClERK

ALICE H. ALLEN, et al.,                        )
                                               )
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                                                                      lt.PU hlifff-

      Plaintiffs,                              )
             ~                                 )       Amended Notice of Appeal
DAIRY FARMERS OF AMERICA, INC., and )
DAIRY MARKETING SERVICES, LLC,      )
                                               )
      Defendants.                              )

                            AMENDED NOTICE OF APPEAL

      Notice is hereby given that DFA/DMS Subclass Representatives Jonathan and

Claudia Haar, plaintiffs in the above-named case, hereby appeal to the United States

Court of Appeals for the Second Circuit from Docket Entry #2118, ORDER Granting

2117 UNOPPOSED MOTION For An Order Identifying Subclass Exclusions And Opt-

Ins, Dismissing The Class Action Claims As To Defendants, Directing Entry Of Final

Judgment, And Approving The Settlement Allocation Plan, entered in this action on the

19th day of August, 2016.

      Respectfully submitted,

~.--c;?'~;(r£                                ~- ~ r/.z/;6
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